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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 NATIONAL ASSOCIATION OF THE
 DEAF, et al.,

        Plaintiffs,
                v.                                      Civil Action No. 20-2107 (JEB)


 DONALD J. TRUMP, et al.,

        Defendants.


                                             ORDER

       On September 9, 2020, the Court issued a Memorandum Opinion and separate Order

granting in part and denying in part Plaintiffs’ Motion for Preliminary Injunction. See ECF Nos.

17–18. The Court stayed that Order to determine the precise remedy that should be awarded to

Plaintiffs. It then heard argument concerning the proper remedy on September 17, 2020, and at

that time directed the parties to meet and confer and file a Joint Proposed Injunction Order,

which they did on September 22, 2020. See ECF No. 21.

       The parties have largely agreed on all terms of the injunction, and the Court now resolves

those areas of disagreement. It accordingly ORDERS that:

   1. For purposes of this preliminary-injunction Order:

           a. The term “White House coronavirus briefings” is defined as those briefings:
              (i) that are conducted by the President, Vice President, or White House Press
              Secretary; (ii) that involve notice that is publicly disseminated by the White
              House Press Office or the White House Office of the Press Secretary in advance
              of commencing; (iii) at which the coronavirus pandemic is reasonably expected to
              be addressed; (iv) that take place on the grounds of the White House or any
              federal agency; and (v) that are captured by the White House Communications
              Agency (WHCA). For the avoidance of doubt, information concerning the
              coronavirus pandemic includes but is not limited to information related to the

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              spread or containment of the virus; updates regarding vaccinations or treatments;
              government action taken in response to the pandemic; and health updates related
              to the pandemic;

          b. The term “qualified ASL interpreter” shall have the same meaning as a “qualified
             interpreter” under 28 C.F.R. § 35.104 (an interpreter who “is able to interpret
             effectively, accurately, and impartially, both receptively and expressively, using
             any necessary specialized vocabulary”);

   2. Defendants shall include a qualified ASL interpreter in the WHCA feed for all White
      House coronavirus briefings, as defined in paragraph 1 above, either by including in the
      frame a qualified ASL interpreter located physically near the speaker, or by including in
      the frame a separate video feed of a qualified ASL interpreter being filmed in a remote
      location using a picture-in-picture (PIP) format;

   3. If Defendants include a qualified ASL interpreter in the WHCA feed by using a PIP
      format as described in paragraph 2 above, then Defendants shall make the video feed of
      the qualified ASL interpreter available to the television networks or the networks’ pool
      feed in a manner that allows the networks to include the qualified ASL interpreter in their
      live broadcasts; and

   4. The injunction shall take effect on October 1, 2020.


      SO ORDERED.


                                                    /s/ James E. Boasberg
                                                    JAMES E. BOASBERG
                                                    United States District Judge

Date: September 23, 2020




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